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VIA ECF AND EMAIL Allen & Overy LLP

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Honorable Richard J. Sullivan NeW York NY 10020

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January 29, 2016

Re: Gucci America, Inc., et al. v. Weixing Li, et al.,
No. 2010 Civ. 4974 (RJS) (S.D.N.Y.)

Dear Judge Sullivan:

We Write on behalf of non-party Bank of China in connection With the above-referenced matter.
Enclosed please f1nd a courtesy copy of a Stipulation of Voluntary Dismissal, Which Was filed With the
United States Court of Appeals for the Second Circuit earlier today.

Respectfully submitted,

H/z//

David C. Esseks

Copy to: Counsel of record (Via email)

Encl.

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Washington, D.C. and Yangon.

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UNlTED STATES COURT OF APPEALS
FOR TI-IE SECOND CIRCUIT

GUCCI AMERlCA, INC., et al.,

 

Plaintiffs~Appellees, USCA No. 15-3 850

- against -
WEIXING Ll, et al.,

Defendants,
BANK OF CHINA,

Non~Party Appellant.

 

 

STIPULATION OF VGLUNTARY DISMISSAL
IT IS HEREBY STIPULATED AND AGREED by and between the parties

that the above-captioned appeal is voluntarily dismissed with prejudice pursuant to
F ederal Rule of Appellate Procedure 42(b).

Each party shall bear its own costs.

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Case 15-3850, Document 77, 01/29/2016, 1694546, Page2 of 2

Respectfully submitted,

M%.MM

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Luxury Goods International (L.G.I.) S.A.
and Yves Saz'nt Laurerzt America, Inc.

